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UNITED STA'l`ES DISTRICT COURT d FILED

SOUTHERN DISTRICT OF INDIANA

TERRE HAUTE DIVISION F`EB 0 7 mg
UNITED STATES OF AMERICA, § lND,ANAPgZ("SS ()FFICE
, [A
Plaimiff, ) NA
v. ) CAUSE NO. 2:18-cr-
)
LUCAS ANTHONY MENDOZA, ) -01
aka “T”, “Timeto”, “Pedro”, )
“Alex Lopez”, )
STEVEN BUIS, ) -02
ROBIN LENNOX, ) -03
BRITTANY OEFFLER, ) -04
JACK MILLER, ) -05
ERIC BRIGHT, ) -06
BOBBY SHEWMAKE, ) -07
and ` )
DONALD HAMMOND, ) -08
, )
Defendants. 1
4 .h;13-cr-00021MS -CMM
INDICTMENT
COUNT ONE

[21 U.S.C. §§ 841(a l), (b)(l)(A) and 846- Conspiracy to Possess with Intent to Distribute
and/or to Distribute Methamphetamine]

The Grand Jury §charges that:

Beginning on a date unknown to the Grand Jury, but at least as early as July 2017, and
continuing up to and including the present, in the Southern District of Indiana, Terre Haute
Division, and elsewherj, LUCAS ANTHONY MENDOZA, STEVEN BUIS, ROBIN LENNOX,
BOBBY SHEWMAKE; and DONALD HAMMOND, defendants, did knowingly conspire

together and with diverse other persons, known and unknown to the Grand Jury, to possess with

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the intent to distribute and/or to distribute 500 grams or more of a mixture or substance
containing a detectable amount of methamphetamine, a Schedule II Non-Narcotic Controlled
Substance, in violation of Title 21, United States Code, Sections 841(a)(l), 84l(b)(1)(A) and
846.

COUNT TWO

[21 U.S.C. §§ 841(a)(l), (b)(l)(A) and 846- Conspiracy to Possess with Intent to Distribute
and/or to Distribute Fentanyl]

The Grand Jury further charges that:

v Beginning on a date unknown to the Grand Jury, but at least as early as July 2017, and
continuing up to and including the present, in the Southern District of Indiana, Terre Haute
Division, and elsewhere, LUCAS ANTHONY MENDOZA and ROBIN LENNOX, defendants,
did knowingly conspire together and with diverse other persons, known and unknown to the
Grand Jury, to possess with the intent to distribute and/or to distribute 400 grams or more of a
mixture or substance containing a detectable amount of N-phynyl-N-[l -(2-phenylethyl)-4-
piperidinyl] propanamide (fentanyl), a Schedule II Non-Narcotic Controlled Substance, in

violation of Title 21, Urlited States Code, Sections 841(a)(l), 84l(b)(l)(A) and 846.
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COUNT THREE

[21 U.S.C. §§ 841(a)`(l), (b)(l)(A) and 846- Conspiracy to Possess with Intent to Distribute
and/or to Distribute Methamphetamine]

The Grand Jury i:urther charges that:
Beginning on a date unknown to the Grand Jury, but at least as early as February 2017,

_ and continuing up to and including the present, in the Southern District of Indiana, Terre Haute

 

 

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Division, and elsewhere, LUCAS ANTHONY MENDOZA, BRITTANY OEFFLER, JACK
MILLER, and ERIC BRIGHT, defendants, did knowingly conspire together and with diverse
other persons, known and unknown to the Grand Jury, to possess with the intent to distribute
and/or to distribute 500 grams or more of a mixture or substance containing a detectable amount
of methamphetamine, a Schedule ll Non-Narcotic Controlled Substance, in violation of Title 21 ,
United States Code, Sections 841(a)(l), 841(b)(1)(A) and 846.

l FORFEITURE

1. Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendants notice that the United States _will seek forfeiture of property, criminally
and/or civilly, pursuant to Title 21 , United States Code, Sections 853 and 881, and Title 28,
United States Code, Section 2461(c), as part of any sentence imposed.

2. Pursuant to Title 21, United States Code, Section 853, if convicted of an offense
set forth in this Indictment, the defendants shall forfeit to the United States any and all property
constituting or derived from any proceeds the defendants obtained directly or indirectly as a
result of the offense, and any and all property used or intended to be used in any manner or part
to commit and to facilitate the commission of the offense, Such property includes, but is not
limited .to, the following specific items:

1 . a. _ $18,105 in United States currency; and
b. Clne Ruger SR40, .40 caliber pistol bearing serial number 342-38644 and
any ammunition located with the firearm.

3. The United States shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), and as incorporated by Title 28, United States

 

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t Code, Section 2461(c), if any of the property described above in paragraph 2, as a result of any
act or omission of the defendants:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided
without difficulty.
4. ` In addition, the United States may seek civil forfeiture of the property described

above in paragraph 2 pursuant to Title 21 , United States Code, Section 881(a), and Title 28,

United states Code, section 2461(¢).

A TRUE BILL:

 

JOSH J. MINKLER
United States Attorney

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By: !; " _ ~

Pamela Domashv
Assistant United States Attomey

 

 

